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 1   Thomas Myers (SBN 120674)
     Email: myers@smithmyerslaw.com
 2   SMITH & MYERS LLP
     355 South Grand Avenue, Suite 2450
 3   Los Angeles, California 90071
     Telephone: 213.613.2380
 4   Facsimile: 213.613.2395

 5   Stephen B. Edwards (pro hac vice)
     PA Attorney I.D. No. 326453
 6   Email: sbedwards@fairnesscenter.org
     Nathan J. McGrath (pro hac vice)
 7   PA Attorney I.D. No. 308845
     Email: njmcgrath@fairnesscenter.org
 8   THE FAIRNESS CENTER
     500 North Third Street Suite 600
 9   Harrisburg, Pennsylvania 17101
     Telephone: 844.293.1001
10   Facsimile: 717.307.3424

11   Attorneys for Plaintiff Isaac Newman

12
                               UNITED STATES DISTRICT COURT
13
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                    Case No. 2:24-cv-01487-WBS-SCR
16
     ISAAC NEWMAN,
17                                                  REQUEST FOR ENTRY OF
             Plaintiff,                             JUDGMENT PURSUANT TO
18                                                  FEDERAL RULE OF CIVIL
     v.                                             PROCEDURE 68
19
     ELK GROVE EDUCATION ASSOCIATION,               Hearing Date: October 15, 2024
20                                                  Hearing Time: 1:30 PM
             Defendant.                             Location:     Courtroom 5, 14th Floor
21                                                  Judge:        Hon. William Shubb

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                                   REQUEST FOR ENTRY OF JUDGMENT
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     Case 2:24-cv-01487-WBS-SCR Document 18 Filed 09/05/24 Page 2 of 2


 1   TO THE HONORABLE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF

 2   RECORD:

 3          WHEREAS, on August 26, 2024, Defendant Elk Grove Education Association made an

 4   Offer of Judgment to Plaintiff Isaac Newman pursuant to Federal Rule of Civil Procedure 68 (the

 5   “Offer”), a copy of which is attached hereto as “Exhibit A” and incorporated by reference herein;

 6          WHEREAS, Plaintiff accepted Defendant’s Offer on September 5, 2024, via letter

 7   transmitted by electronic and first-class mail, a copy of which is attached hereto as “Exhibit B”

 8   and incorporated by reference herein;

 9          PLAINTIFF RESPECTFULLY REQUESTS, that this Court enter judgment in his favor

10   and against Defendant in the amount of $12,000 (twelve thousand dollars), consistent with the

11   terms and conditions contained in the Offer.

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13                                           Respectfully submitted,

14   Date: 9/5/2024                By:       /s/ Stephen B. Edwards
                                             Stephen B. Edwards
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                                             Attorney for Plaintiff Isaac Newman
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                                     REQUEST FOR ENTRY OF JUDGMENT
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